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            EXHIBIT 9
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From: Amanda Clark‐Palmer <aclark@gsllaw.com>
Sent: Monday, August 29, 2022 2:50 PM
To: Cross, David D. <DCross@mofo.com>
Subject: re: Cathy Latham


External Email




Dear David,
On behalf of my client, SullivanStrickler, I can confirm that Cathy Latham was a primary point of contact in coordinating
and facilitating SullivanStrickler’s work in Coffee County, Georgia on January 7, 2021, pursuant to its engagement with
Sidney Powell. Ms. Latham was on site in the Coffee County elections office that day while the work was performed.

Sincerely,
Amanda

Amanda R. Clark Palmer
Partner
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